                     Case 1:07-cr-00179-AWI Document 66 Filed 12/09/14 Page 1 of 2
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
           JOSE CONTRERAS MARIN
                      (Defendant’s Name)                                  Criminal Number: 1:07CR00179-001


                                                                          Victor Manuel Chavez (appointed)
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge 1 as alleged in the violation petition filed on July 5, 2012 .
[]  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number                     Nature of Violation                              Date Violation Occurred
Charge 1                             Failure to Report to the United States Probation On or about May 17, 2012
                                     Office Within 72 Hours Upon Re-Entry




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 4/6/2009 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[U]      Charge 2 is dismissed.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                                              12/1/2014
                                                                                    Date of Imposition of Sentence


                                                                                        /s/ ANTHONY W. ISHII
                                                                                      Signature of Judicial Officer


                                                                          ANTHONY W. ISHII, United States District Judge
                                                                                Name & Title of Judicial Officer


                                                                                                 12/9/2014
                                                                                                   Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:               1:07CR00179-001                                                               Judgment - Page 2 of 2
DEFENDANT:                 JOSE CONTRERAS MARIN


                                                         IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 4 months (Credit for Time Served) .



[U]      No TSR: Defendant shall cooperate in the collection of DNA.

[]       The court makes the following recommendations to the Bureau of Prisons:



[]       The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
